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Attorneys for Defendants


                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


                                               Case No.: 2:24-cv-01207
NORTHROCK MINERALS LLC,

               Plaintiff,
                                               CORPORATE DISCLOSURE
       v.                                      STATEMENT PURSUANT TO
JOSEPH COHEN and SNOW JOE LLC,                 FEDERAL RULE OF CIVIL
                                               PROCEDURE RULE 7.1
               Defendants.



       Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel for

Defendants Joseph Cohen and Snow Joe LLC states as follows:

       1.     Defendant Snow Joe LLC is a New York Limited Liability Company. No

publicly held corporation owns 10% or more of its stock. Defendant Joseph Cohen is the

sole member of Snow Joe LLC.

       2.     Upon information and belief, Plaintiff Northrock Minerals LLC is a citizen

of the State of Florida.

       3.     Defendant Joseph Cohen is a citizen of the State of New York.

       4.     Defendant Snow Joe LLC is a citizen of the State of New York.

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Dated: River Edge, New Jersey
      March 11, 2024

                                Respectfully submitted,

                                PECKAR & ABRAMSON, P.C.
                                Attorneys for Defendants


                                By:   /s/ Kevin J. O’Connor
                                      KEVIN J. O’CONNOR




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                              CERTIFICATE OF SERVICE

         I hereby certify that on March 11, 2024, I served this Rule 7.1 Disclosure

Statement on the attorney identified below and filed it by ECF with the Clerk of the

Court:

                             MANDELBAUM BARRETT, P.C.
                                   Joshua S. Bauchner
                              3 Becker Farm Road, Suite 105
                               Roseland, New Jersey 07068
                                  Attorneys for Plaintiff


                                                  /s/ Kevin J. O’Connor
                                                  KEVIN J. O’CONNOR




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